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                                                                                        EXHIBIT

                                                                                            A
                                         UNITED STATES DISTRICT COURT
                                          MIDDLE DISTRICT OF FLORIDA
                                            JACKSONVILLE DIVISION

  JENNIFERMARIE TASMAN, on behalf of
  herself and those similarly situated,

               Plaintiff(s),

  vs.                                                  Case No.: 3:17-cv-994-J-32JRK

  HT RESTAURANT GROUP, LLC,
  D/B/A HIDDEN TREASURE RAW BAR &
  GRILL, a Florida Limited Liability Company,

              Defendant.

                           SETTLEMENT AGREEMENT AND FLSA RELEASE

              THIS SETTLEMENT AGREEMENT AND FLSA RELEASE ("Agreement") is made this

 5th   day of June, 2018, by and between JenniferMarie Tasman ("Plaintiff') and HT Restaurant

 Group, LLC, d/b/a Hidden Treasure Raw Bar & Grill ("Defendant").

              WHEREAS, Plaintiff was employed by Defendant as a server from February 1, 2017

through July 3, 2017; and

              WHEREAS, Plaintiff filed the above-referenced lawsuit (the "Complaint") against

Defendant; and

             · WHEREAS, Defendant denies liability herein and any wrongdoing with respect to

Plaintiff; and

              WHEREAS, Plaintiff and Defendant wish to avoid litigating this claim and settle and

resolve this controversy between them amicably and expeditiously;

              NOW, THEREFORE, in consideration of the mutual covenants set forth herein and other

good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged,

it is hereby


        ·,
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            STIPULATED AND AGREED by and between the undersigned parties that the above-

 entitled matter is hereby resolved as follows:
                          -
            1.        RECITALS. The foregoing recitals are true and correct and are incorporated

 herein by this reference.

           2.         RELEASE OF FLSA CLAIMS.

           a.         This Agreement shall constitute a waiver and release of all claims Plaintiff might

 have for unpaid wages and/or overtime under the Fair Labor Standards Act against Releasees (as

 defined paragraph 2(c) below).

           b.         Plaintiff shall dismiss in writing and with prejudice the above-referenced lawsuit

 against Defendant, by filing a mutually agreeable Joint Motion for Approval of Settlement.

           c.        Plaintiff hereby knowingly and voluntarily releases and forever discharges

 Defendant, together with its parents, predecessors, successors, assigns, subsidiaries, affiliates,

 insurers, and its past, present and future directors, officers, shareholders, members, Plaintiffs,

 agents, and attorneys, both individually and in their capacities as directors, officers, shareholders,

 members, Plaintiffs, agents, heirs and attorneys (collectively "Releasees"), of and from any and

 all claims under the Fair Labor Standards Act, whether known, unknown, anticipated,

 unanticipated, disclosed or undisclosed, against any of the Releasees which Plaintiff has or might

 have as of the date of execution ofthis Agreement.

           3.        SETTLEMENT SUMMARY

           a.        In consideration of the promises made herein, by July 24th, 2018, as long as

 Defendant received an executed original of this Agreement,.W-4 and W-9 Forms executed by

 Plaintiff and a W-9 Form executed by Plaintiff's attorney, Defendant shall pay to Plaintiff the total




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 sum of Two Thousand Seven Hundred and Fifty Dollars and No Cents ($2,750.00) (hereinafter

 "Settlement Sum"). Such Settlement Sum shall be allocated as follows:

           •         $1,000.00 made payable to JenniferMarie Tasman, as and for unpaid wages

                     allegedly due her, which amount shall be subject to deductions and withholdings

                     and for which an IRS ~orm W~2 shall issue to JenniferMarie Tasman;

           •         $1,000.00 made payable to JenniferMarie Tasman, as and for liquidated damages

                     allegedly due her, which amount shall not be subject to deductions or withholding

                     and for which·an IRS Form 1099 shall issue to JenniferMarie Tasman; and

           •         $750.00 made payable to Morgan & Morgan, as attorneys' fees and costs and for

                     which an IRS Form 1099 shall issue to Morgan & Morgan and JenniferMarie

                     Tasman;

           Plaintiff understands and acknowledges that she would not have received the payments ·

 specified in this paragraph, except for her execution of this Agreement, including the Release of

 her FLSA claim contained herein, and her fulfillment of the promises contained -herein.

           b.       Defendant makes no representation as to the taxability of the amounts paid to

 Plaintiff. Plaintiff agrees to pay federal or state taxes, if any, which are required by law to be paid

 with respect to this settlement. Moreover, Plaintiff agrees to indemnify Defendant and hold it

harmless from any interest, taxes or penalties assessed against it by any governmental agency as a

result of the non-payment of taxes on any amounts paid to Plaintiff under the terms of this

 Agreement.

          4.        NO ADMISSION. Neither this Agreement nor the furnishing of the consideration

 for this Agreement shall be deemed or construed at any time for any purpose as an admission by




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  either party or any liability, unlawful conduct of any kind or violation by either party of the laws

 . identified in paragraph 2 herein.

            5.        OPPORTUNITY TO REVIEW. Plaintiff acknowledges that she is aware that

 she is giving up all claims under the FLSA against Defendant, its parents, predecessors, successors,

 assigns, subsidiaries, affiliates, and insurers, and their past and present directors, officers,

 shareholders, members, Plaintiffs, agents, insurers and attorneys. Plaintiff acknowledges that she

 has been advised in writing to consult with an attorney and has had the opportunity to seek legal

 advice before executing this Agreement. Plaintiff signs this Agreement voluntarily.

            6.        SEVERABILITY.              Except as set forth below, should any provision of this

 Agreement set forth herein be declared illegal or unenforceable by any comt of competent

 jurisdiction, such that it cannot be modified to be enforceable, excluding the FLSA release

 language, such provision shall immediately become null and V<?id, leaving the remainder of this

 Agreement in full force and effect.

            7.        VENUE-AND GOVERNING LAW. This Agreement shall be governed by the

 laws of the State of Florida without regard to its conflict of law provisions. In the event of any

 action arising hereunder, venue shall be proper in the Circuit Court of Volusia County, Florida.

            8.        AGREEMENT AND REPRESENTATIONS. This Agreement supersedes any

 and all prior oral or written agreements, understandings, representations or warranties between the

 parties.        Plaintiff acknowledges that she has not relied on any representations, promises, or

 agreements of any kind made to her in connection with her decision to sign this Agreement, except

 those set forth in this Agreement.




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               agreements or any kind mndc lo lier tn cmmcclfon with htt decision to 11ign this Agrccnumt,

              except those set forth in thia Agreement.

                     9.      AMENDMENTS. This Agreement may not be amended, modified, alteted, or

              changed, CJ1:cept by a written agreement which is both signed by all parties and which makes

             specific reference to this Agreement




                                                          B~~                       TASMAN



                                                          HT RESTAURANT GROUP, LLC,
                                                          DfB/A HIDDEN TREASURE RAW BAR. &
                                                    GRILL                 0
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                                                                      2~rW..tnl.trr?        t2hlfJ~
                                                                  Print name and title of person signing




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